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                      IN THE UNITED STATES DISTRICT COURT
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                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
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12                                                 Case No. 2:09-CR-00099-FLA
          UNITED STATES OF AMERICA,
13                                                 ORDER OF DETENTION
                          Plaintiff,
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15
                          v.                       ~Fed. R. Crim. P. 32.1(a)(6);
                                                    8 U.S.C. § 3143(a)(1)]
          DEONDRE AL JORDAN,
16
                          Defendant.
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19
20                                                I.
21             On November 1, 2021, Defendant Deondre Al Jordan ("Defendant")
22       appeared before the Court for initial appearance on the petition and warrant for
     I
23       revocation of supervised release issued in this matter, Case No. 2:09-CR-00099-
24       FLA. The Court appointed Angel Navarro of the CJA Panel as counsel for
25       Defendant.
26       ///
27       ///
28       ///
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 1                                                  II.
 2         Pursuant to Federal Rule of Criminal Procedure 32.1(a)(6) and 18 U.S.C.
 3   § 3143(a)following Defendant's arrest for alleged violations) of the terms of
 4   Defendant's ❑probation / ~ supervised release, the Court finds that:
 5         A.      ~      Defendant submitted to the Government's Request for
 6   Detention;
 7
 g         B.      ~      Defendant has not carried his burden of establishing by clear
 g   and convincing evidence that Defendant will appear for further proceedings as
10   required if released [18 U.S.C. § 3142(b-c)]. This finding is based on:
11         • Criminal history includes multiple failures to appear, multiple parole
12              violations, obstruction of police officer, and giving false information to
13              peace officers;
14         • Nature of supervised release allegations;
15         • Mental health concerns.
16
1~         C.      ~     Defendant has not carried his burden of establishing by clear
1g   and convincing evidence that Defendant will not endanger the safety of any other
19   person or the community if released [18 U.S.C. § 3142(b-c)]. This finding is based
20   on:
21         • Criminal history includes multiple failures to appear, multiple parole
22              violations, obstruction of police officer, and giving false information to
23              peace officers;
24         • Active protection order against the defendant;
25         • Nature of supervised release allegations.
26   ///
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      Case 2:09-cr-00099-FLA Document 88 Filed 11/01/21 Page 3 of 3 Page ID #:505



 1                                       III.
 2        IT IS THEREFORE ORDERED that Defendant be detained pending further
 3   proceedings.
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 5   Dated: November 1, 2021

 6                                              /s/
 7                                         MARIA A. AUDERO
 g                                     UNITED STATES MAGISTRATE JUDGE

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